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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: APPLICATION FOR AN TO BE FILED UNDER SEAL
EXTENSION OF NON-DISCLOSURE |
ORDER TO INSTAGRAM, INC. Application for Continued Non-
Disclosure Order Pursuant to 18 U.S.C.
§ 2705(b)
No. 18-MC-1504

 

 

APPLICATION FOR AN ORDER EXTENDING
NON-DISCLOSURE ORDER TO INSTAGRAM LLC

On June 1, 2018, the Honorable Peggy Kuo issued an Order, pursuant to 18
U.S.C. § 2705(b) ordering Instagram Inc. (“Instagram”), an electronic communication
service provider and/or a remote computing service, not to notify any person (including the
subscribers and customers of the account), of the existence of a subpoena for the period of
one year from the date of the Order. 18 Misc. 1504 (the “June 1, 2018 Non-Disclosure
. Order,” attached hereto and incorporated).!

Absent an extension, the June 1, 2018 Non-Disclosure Order expired on June
1, 2019.2 The United States requests that the Court extend the June 1, 2018 Non-Disclosure
Order for the period of two months from the date of this order because the subpoena attached
to the June 1, 2018 Non-Disclosure Order relates to an ongoing criminal investigation that is
neither public nor known to the targets of the investigation, and there is reason to believe that

disclosure of the subpoena will alert the targets to the ongoing investigation. Specifically,

 

' Although the subpoena is directed to Facebook, not Instagram, it requested information about an
Instagram ID. Instagram is owned by Facebook. Instagram has already responded to the subpoena directed to
Facebook, as well as complied with the June 1, 2018 Non-Disclosure Order.

2 Despite the expiration of the June 1, 2018 Non-Disclosure Order, Instagram has not yet informed the
subscribers and customers of the account of the existence of the subpoena.

 
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the account listed in the subpoena is believed to belong to an individual who is a target of the
investigation, who is at large and who does not yet know of the investigation. Accordingly,
there is reason to believe that notification of the existence of the subpoena will seriously
jeopardize the investigation, including by giving the target, as well as coconspirators, an
opportunity to flee or continue flight from prosecution, destroy or tamper with evidence, |
change patterns of behavior, or intimidate potential witnesses. See 18 U.S.C. § 2705(b).
Some of the evidence in this investigation is stored electronically and can be completely and
permanently erased. Some of the evidence in this investigation involves communications
that can be transferred to alternate platforms (including encrypted platforms and platforms
beyond the jurisdictional reach of U.S. legal process). If alerted to the existence of the
subpoena, there is reason to believe that the subjects under investigation will destroy that
evidence and change their patterns of behavior.

WHEREFORE, the United States respectfully requests that the Court extend |
the June 1, 2018 Non-Disclosure Order for the period of two months and direct Instagram not
to disclose the existence or content of the subpoena attached to the June 1, 2018 Non-
Disclosure Order for the period of two months from the date of the attached Order, except
that Instagram may disclose the subpoena to an attorney for Instagram for the purpose of
receiving legal advice.

The United States further requests that the Court order that this application and
any resulting order be sealed until further order of the Court. As explained above, these

documents discuss an ongoing criminal investigation that is neither public nor known to all

 
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of the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

Dated: Brooklyn, New York
June 12, 2019 !

RICHARD P. DONOGHUE

United States Attorney
Eastern District of New York

ny: CLM 2

Oren Gleich
Assistant U.S. Attorney
(718) 254-6569

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

' IN RE: ORDER EXTENDING NON- TO BE FILED UNDER SEAL
DISCLOSURE ORDER TO INSTAGRAM,
INC.

No. 18-MC-1504

 

 

ORDER

_On June 1, 2018, the Honorable Peggy Kuo issued an Order, pursuant to 18
U.S.C. § 2705(b) ordering Instagram, Inc. (“Instagram”), an electronic communication
service provider and/or a remote computing service, not to notify any person (including the
subscribers and customers of the account), of the existence of a subpoena for the period of
one year from the date of the Order. 18 Misc. 1504 (the “June 1, 2018 Non-Disclosure
Order,” attached hereto and incorporated). Absent an extension, the June 1, 2018 Non-
Disclosure Order expired on June 1, 2019.

The United States has submitted an application pursuant to 18 U.S.C. § 2705(b),
requesting that the Court extend the June 1, 2018 Non-Disclosure Order for the period of two
months and command Instagram, an electronic communication service provider and/or a
remote computing service, not to notify any person (including the subscribers and customers
of the account listed in the subpoena attached to the June 1, 2018 Non-Disclosure Order) of
the existence of the subpoena for the period of two months from the date of this Order.

The Court determines that there is reason to believe that notification of the
existence of the subpoena attached to the June 1, 2018 Non-Disclosure Order will seriously.
jeopardize the investigation or unduly delay a trial, including by giving the target, as well as

coconspirators, an opportunity to flee or continue flight from prosecution, destroy or tamper

 
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with evidence, change patterns of behavior, or intimidate potential witnesses. See 18 U.S.C.
§ 2705(b).

IT IS THEREFORE ORDERED under 18 U.S.C. § 2705(b) that Instagram
shall not disclose the existence of the subpoena attached to the June 1, 2018 Non-Disclosure
Ordet, or this Order of the Court, to the listed subscriber or to any other person for the period
of two months from the date of this Order, except that Instagram may disclose the attached
subpoena to an attorney for Instagram for the purpose of receiving legal advice.

IT TIS FURTHER ORDERED that the application and this Order are sealed

until otherwise ordered by the Court.

Dated: Brooklyn, New York
June 12, 2019

 

HONORABLE JAMES ORENSTEIN
UNITED STATES MAGISTRATE JUDGE
Eastern District of New York

 
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EMR
F, #2018R01074

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: GRAND JURY SUBPOENA TO TO BE FILED UNDER SEAL
INSTAGRAM

 

No. 18-MC-1504

 

ORDER

The United States has submitted an application pursuant to 18 U.S.C. §
2705(b), requesting that the Court issue an Order commanding Instagram, an electronic
communication service provider and/or a remote computing service, not to notify any person
(including the subscribers and customers of the account(s) listed in the subpoena) of the
existence of the attached subpoena for the period of one year from the date of this Order.

The Court determines that there is reason to believe that notification of the

- existence of the attached will seriously jeopardize the investigation or unduly delay a trial,
including by giving targets an opportunity to flee from prosecution, destroy or tamper with
evidence, change patterns of behavior, intimidate potential witnesses, or endanger the life or
physical safety of an individual. See 18 U.S.C. § 2705(b).

ITIS THEREFORE ORDERED under 18 U.S.C. § 2705(b) that Instagram
shall not disclose the existence of the attached subpoena, or this Order of the Court, to the
listed subscriber or to any other person for the period of one year from the date of this Order,
except that may disclose the attached subpoena to an attorney for Instagram for the purpose

of receiving legal advice.

 
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IT IS FURTHER ORDERED that the application and this Order are sealed

until otherwise ordered by the Court.

Dated: Brooklyn, New York
June 1, 2018

yn

PEGGY KUO VV
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

 
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F. #2018R01074 —

AO 110 (Rey. 06/09) Subpoena to Testify Before a Grand Jury -

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To: FACEBOOK
156 UNIVERSITY AVENUE
PALO ALTO, CA 94301-1605

YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown |
below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court

officer allows you to leave.

 

‘

 

Place: U.S. District Court, Eastern District of New York Date and Time:
225 Cadman Plaza East, Sth Floor, Room N547 JUN18, 2018
Brooklyn, New York 11201 . | 10:00A.M, -

 

 

 

 

You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable):

SEE ATTACHED RIDER

YOU MAY COMPLY WITH THIS SUBPOENA BY PROVIDING THE i
REQUESTED INFORMATION TO SPECIAL AGENT RYAN LAWSON J
OF THE FEDERAL BUREAU OF INVESTIGATION, 26 FEDERAL PLAZA,
23RD FLOOR, NEW YORK, NY 10278, TELEPHNEN NUMBER:(212)
384-2296, EMAIL ADDRESS :rclawson@fbi.gov.

 

DOUGLAS C. PALMER

Date: JUNE 4, 2018 ( rey —

  
 

Signature of Clerk or Deputy Clerk

 

The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, are:

Assistant U.S. Attorney Amy Busa, U.S. Attorney's Office, Eastern District of New York

271 Cadman Plaza East, Brooklyn, New York 11201

Amy.Busa@usdoj.gov :

(718) 254-6274

 
